                     CONTINUATION OF A CRIMINAL COMPLAINT

       I, Richard J. Trask II, being first duly sworn, hereby depose and state as follows:

       1.      I am a Special Agent with the Federal Bureau of Investigation (FBI), and have

been since April 2011. As a Special Agent with the FBI, I have participated in, and conducted

numerous investigations under the Domestic Terrorism, Counterterrorism, and

Counterintelligence programs, to include espionage, terrorism, and domestic extremism

investigations. I have participated in and executed search warrants to seize items of evidence

from residences, telephone providers, and electronic devices, such as cell phones and computers.

       2.      The facts in this affidavit come from my personal observations, training,

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause to support the issuance of a criminal

complaint and does not set forth all of my knowledge about this matter.

       3.      The United States, including the FBI, is investigating a conspiracy to kidnap the

Governor of Michigan. 18 U.S.C. § 1201(c) makes it a felony to conspire to kidnap or abduct

any person and hold that person for ransom, reward, or otherwise, where the kidnapper or the

victim crosses a state boundary, or a means of interstate commerce (such as a cellular telephone

or the internet) is used in committing, or in furtherance of, the offense.

       4.      In the course of its investigation, the FBI relied on information provided by

Confidential Human Sources (CHS) and Undercover Employees (UCE) over several

months. Not all CHSs and UCEs were present at all times, however, at least one CHS or UCE

was usually present during the group meetings. Those CHSs and UCEs consensually recorded

the meetings and conversations with the subjects. Some meetings or conversations were

recorded by more than one CHS or UCE. Certain CHSs also had access to group or individual
texts, online chats, and phone calls. Each CHS was vetted for reliability by the FBI agent

handling the source. None of the CHSs were aware of the other CHSs involved with the groups

in order to preserve the independence of their reporting. Although multiple CHSs were used

over the course of the investigation, this complaint only relies on audio recordings and

information provided by CHS-1, CHS-2, UCE-1 and UCE-2.

       5.      The evidence set forth in this affidavit demonstrates probable cause to issue a

criminal complaint charging Adam FOX, Barry CROFT, Ty GARBIN, Kaleb FRANKS, Daniel

HARRIS, and Brandon CASERTA with conspiring to kidnap Michigan Governor Gretchen

Whitmer, in violation of 18 U.S.C. § 1201(c). FOX, GARBIN, FRANKS, HARRIS and

CASERTA are residents of Michigan, and CROFT is a resident of Delaware.

             CONSPIRACY TO KIDNAP THE GOVERNOR OF MICHIGAN

       6.      In early 2020, the FBI became aware through social media that a group of

individuals were discussing the violent overthrow of certain government and law-enforcement

components. Among those individuals identified were CROFT and FOX. Through electronic

communications, CROFT and FOX agreed to unite others in their cause and take violent action

against multiple state governments that they believe are violating the U.S. Constitution.

                       Group Meeting in Ohio to Discuss the Operation

       7.      On June 6, 2020, CROFT, FOX and approximately 13 other people from several

states gathered in Dublin, Ohio. CHS-1 was present at this meeting. 1 The group talked about




1
  The FBI has paid CHS-1 approximately $8,600 to date for expenses. CHS-1 does not have a criminal
history and has been deemed reliable by the FBI. Information given by CHS-1 has been shown to be
reliable and corroborated through review of recordings and physical surveillance. That meeting was
recorded and provided to the FBI.

                                                 2
creating a society that followed the U.S. Bill of Rights and where they could be self-

sufficient. They discussed different ways of achieving this goal from peaceful endeavors to

violent actions. At one point, several members talked about state governments they believed

were violating the U.S. Constitution, including the government of Michigan and Governor

Gretchen Whitmer. Several members talked about murdering “tyrants” or “taking” a sitting

governor. The group decided they needed to increase their numbers and encouraged each other

to talk to their neighbors and spread their message. As part of that recruitment effort, FOX

reached out to a Michigan based militia group (the “militia group.”)

        8.      The militia group had already been brought to the attention of the FBI by a local

police department in March 2020, when members of the militia group were attempting to obtain

the addresses of local law-enforcement officers. At the time, the FBI interviewed a member of

the militia group who was concerned about the group’s plans to target and kill police officers,

and that person agreed to become a CHS.

                     Attempted Recruitment of the Militia Group and Others

        9.      As reported by CHS-2 and confirmed by the FBI, the militia group periodically

meets for field training exercises (“FTX”) 2 on private property in remote areas of Michigan,

where they engage in firearms training and tactical drills. 3 CHS-2 told the FBI that, at a FTX on

June 14, 2020, one of the founders of the militia group said he had been introduced to FOX.



2
 The individuals identified in this affidavit often refer to a “field training exercise” as an “FTX” and, as
such, the same is done in this affidavit.
3
 The FBI has paid CHS-2 approximately $14,800 to date, for reporting and expenses. CHS-2 does not
have a criminal history and has been deemed reliable by the FBI. Information given by CHS-2 has been
shown to be reliable and corroborated through review of recordings and physical surveillance. CHS-2 also
consensually recorded certain meetings and provided those recordings to the FBI.

                                                      3
During that exercise, the militia group leadership had a call with FOX, who invited them to meet

at his business in Grand Rapids, Michigan, later in the week.

       10.     FOX, in coordination with CROFT, met with members of the militia group at

various times in June 2020. During one such meeting on June 18, 2020, which was audio

recorded by CHS-2, FOX, militia group leadership, including Michigan resident Ty GARBIN,

and CHS-2 met at a Second Amendment rally at the State Capitol in Lansing, Michigan. In an

effort to recruit more members for the operation, FOX told GARBIN and CHS-2 he planned to

attack the Capitol and asked them to combine forces.

                        The Operation Focuses on Governor Whitmer

       11.     As previously discussed, the FBI was able to monitor much of the activity

between FOX and others through the use of CHSs. On June 14, 2020, CHS-2 participated in a

consensually recorded telephone call with FOX, who described the meeting in Dublin, Ohio.

FOX said he needed “200 men” to storm the Capitol building in Lansing, Michigan, and take

hostages, including the Governor. FOX explained they would try the Governor of Michigan for

“treason,” and he said they would execute the plan before the November 2020 elections.

       12.     On June 20, 2020, FOX, GARBIN, and several other individuals, including CHS-

2, met at FOX’s business in Grand Rapids. As part of FOX’s operational security, the attendees

met in the basement of the shop, which was accessed through a trap door hidden under a rug on

the main floor. FOX collected all of their cellular phones in a box and carried them upstairs to

prevent any monitoring. CHS-2 was wearing a recording device, however, and captured the

audio from the meeting. The attendees discussed plans for assaulting the Michigan State Capitol,

countering law enforcement first responders, and using “Molotov cocktails” to destroy police



                                                 4
vehicles. The attendees also discussed plans for an additional meeting during the first weekend

of July when they also would conduct firearms and tactical training.

       13.     On June 25, 2020, FOX live-streamed a video to a private Facebook group that

included CHS-2, in which he complained about the judicial system and the State of Michigan

controlling the opening of gyms. FOX referred to Governor Whitmer as “this tyrant bitch,” and

stated, “I don’t know, boys, we gotta do something. You guys link with me on our other location

system, give me some ideas of what we can do.” The video was preserved by the FBI.

                  Training and Planning to Kidnap the Michigan Governor

       14.     On June 28, 2020, FOX, FOX’s girlfriend, GARBIN, Michigan resident Kaleb

FRANKS, Michigan resident Brandon CASERTA, and CHS-2 attended a tactical training

exercise at the Munith, Michigan, residence of a militia-group member. After the training,

FRANKS left the residence. Other people, including FOX, GARBIN, CASERTA, and CHS-2

remained at the residence and were told to leave if they were not willing to participate in attacks

against the government and in kidnapping politicians. FOX, GARBIN, CASERTA, and CHS-2

stayed for the rest of the meeting. FRANKS left before the end of the night, though his departure

does not appear to be related to FRANKS’ commitment to the conspiracy. 4




4
 On July 7, 2020, FRANKS attended a meeting at the residence of another militia group member, and
CHS-2 was in attendance. FRANKS said that he was “not cool with offensive kidnapping” and added that
he was “just there for training,” or words to that effect. After the meeting, however, FRANKS actively
continued to participate in the kidnapping plot, as further described below.

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       15.     Over the weekend of July 10-12, 2020, FOX, CROFT, GARBIN, FRANKS,

CASERTA, CHS-2, and others attended a FTX in Cambria, Wisconsin. Attendees participated in

firearms training and other combat drills. On July 11, at the exercise, CROFT and a member of

the militia group attempted to construct an improvised explosive device (“IED”), using black

powder, balloons, a fuse, and BBs for shrapnel. CROFT, GARBIN and the militia group member

attempted to make a second IED using similar components. The construction of the devices was

faulty, and they did not detonate as planned. CHS-2 provided FBI with video of the event.

FRANKS also brought and fired a rifle with a silencer at the exercise. Attendees shared photos

and video recordings of the exercise in Facebook discussions that included CHS-2.

       16.     On July 18, 2020, GARBIN, FOX, CROFT, HARRIS, FRANKS, CHS-2, and

other individuals met in Ohio. CHS-2 provided the FBI with an audio recording of the meeting.

The attendees discussed attacking a Michigan State Police facility, and in a separate conversation

after the meeting, GARBIN suggested shooting up the Governor’s vacation home, which is

located in the Western District of Michigan (“the vacation home.”) The same day, GARBIN told

CHS-2 and others that he did not want to go after the Capitol. He said he was “cool” with going

after the Governor’s vacation home, however, even if it only resulted in destruction of property.

       17.     On July 27, 2020, CHS-2 met FOX at his business in Grand Rapids. CHS-2

provided the FBI with an audio recording of the meeting. FOX said their best opportunity to

abduct Governor Whitmer would be when she was arriving at, or leaving, either her personal

vacation home or the Governor’s official summer residence. Both residences are located in the

Western District of Michigan. FOX described it as a “Snatch and grab, man. Grab the fuckin’

Governor. Just grab the bitch. Because at that point, we do that, dude -- it’s over.” FOX said that

after kidnapping the Governor, the group would remove her to a secure location in Wisconsin for

                                                 6
“trial.” FOX suggested they get a realtor to help them find the exact location of the vacation

home and collect information on the surrounding homes and structures. FOX discussed the

importance of knowing the layout of the yard, homes, and security. FOX stated they needed to

map out the surrounding property and gates, and they needed plumbers and electricians to help

them read blueprints to refine their strategy. FOX also suggested recruiting an engineer or “IT

[Information Technology] guy,” a “demo guy,” and other “operators.”

        18.     On July 27, 2020 FOX asked in an encrypted group chat, which included

GARBIN, HARRIS, FRANKS and CHS-2, “OK, well how’s everyone feel about kidnapping?”

No one responded to the question.

        19.     On July 28, 2020, FOX told CHS-2 over the phone that he had narrowed down his

attack targets to the vacation home and the summer residence. The call was not recorded. The

same day, FOX posted the following to a private Facebook page: “We about to be busy ladies

and gentlemen . . . This is where the Patriot shows up. Sacrifices his time, money, blood sweat

and tears . . . it starts now so get fucking prepared!!”

        20.     On August 9, 2020, FOX, GARBIN, HARRIS, FRANKS, and CHS-2

participated in a tactical training in Munith, Michigan. CHS-2 provided the FBI with an audio

recording of the training. FOX asked the group about kidnapping Governor Whitmer. According

to CHS-2, GARBIN initially expressed reluctance to talk about the plan in that setting. After the

training, FOX, CHS-2, and others participated in a group call that was recorded by CHS-2. FOX

suggested another member of the militia group could gather information about Governor

Whitmer’s primary residence in Lansing, and FOX discussed destroying the Governor’s boat.

After the call, FOX, FRANKS, GARBIN, HARRIS, and CHS-2 communicated in an encrypted

group chat. In that chat, HARRIS stated, “Have one person go to her house. Knock on the door

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and when she answers it just cap her . . . at this point. Fuck it.” He added, “I mean . . . fuck, catch

her walking into the building and act like a passers-by and fixing dome her then yourself

whoever does it.” (sic). In a follow-up chat about the plan, FRANKS told CHS-2, “OK sounds

good I’m in for anything as long as its well planned.”

       21.     On August 18, 2020, in an encrypted group chat that included FOX, HARRIS,

GARBIN, FRANKS, CHS-2, and others, FRANKS expressed interest in taking part in a

surveillance of the vacation home. In an effort to locate the Governor’s vacation home, one of

the members named specific cities where it could be located and told the group to check these

cities. In a private chat later on August 18, 2020, the same person told CHS-2 the name of the

lake in northern Michigan where the vacation home is located, and he said he was looking for an

escape route using a boat on the lake.

             The Group Uses Operational Security Measures to Avoid Detection

       22.     The conspirators often communicate via encrypted online platforms and use “code

words” or phrases to describe their plans in a self-proclaimed effort to avoid law-enforcement

detection. For example, on July 24, 2020, CHS-2 and GARBIN contacted FOX by telephone.

The call was recorded by CHS-2. FOX said he had researched the Governor’s office online, and

he believed that the Governor kept only a ceremonial office in Lansing. FOX wondered aloud

whether the group just needed to “party it out, make a cake and send it,” in what CHS-2 believed

was a coded reference to sending a bomb to the Governor. FOX discussed the need to train for

the next three months to be ready to engage. FOX stated, “In all honesty right now . . . I just

wanna make the world glow, dude. I’m not even fuckin’ kidding. I just wanna make it all glow

dude. I don’t fuckin’ care anymore, I’m just so sick of it. That’s what it’s gonna take for us to

take it back, we’re just gonna have to everything’s gonna have to be annihilated man. We’re

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gonna topple it all, dude. It’s what great frickin’ conquerors, man, we’re just gonna conquer

every fuckin’ thing man.” FOX and GARBIN further discussed the need for the government to

collapse because it has become so tyrannical.

       23.     On July 26, 2020, FOX told CHS-2 that he had not heard back from the “baker,”

which the CHS understood to mean an explosives manufacturer. FOX told the CHS that he

thought it might be better to focus on the vacation home and summer residence as potential

targets. FOX also said, “Maybe we should just make a bunch of cupcakes and send them out,” in

an apparent reference to a more widespread bombing campaign. CHS-2 understood these code

words and phrases because the group often used such language when talking about explosives.

       24.     On August 23, 2020, GARBIN, HARRIS, FRANKS, CASERTA, CHS-2, and

three other individuals met at HARRIS’s residence in Lake Orion, Michigan. CHS-2 provided

FBI with an audio recording of the meeting. The group had discussed concerns about being

infiltrated by law enforcement, and all attendees were required to bring personal documents to

confirm their identities. During the meeting, CASERTA asked FRANKS, “Franks, where you

at?” FRANKS responded, “Same place. I’m ready to get it on. Doesn’t matter. It could be

‘cause somebody looked at us wrong.” CHS-2, referring to FOX, stated, “He is all about fuckin’

killin’ her.” CASERTA responded, “God. Go on someone’s property and stuff like that. I would

rather not scare them. Especially if it’s a fuckin’ political parasite. The world would be better

without that person, I’ll say that.” CHS-2 explained that was why FOX wanted to do “recon” for

the plan. The group discussed surveilling the vacation home in preparation for attacks on the

Governor, and FRANKS advised he had recently spent almost $4,000 on a helmet and night-

vision goggles. To address their concerns about law-enforcement infiltration, the attendees

agreed to move their group chat to a different encrypted messaging application. Because the

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group still included CHS-2, the FBI has maintained the ability to consensually monitor the chat

communications.

      The Conspirators Conduct Surveillance of the Governor’s Home on Two Occasions

                            Daytime Surveillance on August 29, 2020

25.            On August 29, 2020, FOX, CHS-2, and another individual conducted surveillance

of the vacation home. CHS-2 provided FBI with an audio recording of the operation. FOX used

his cell phone to attempt to locate the residence, but initially they had trouble finding it. He

contacted a friend who had assisted them in the past; the friend told him where the vacation

home was located and sent pictures of the home from the internet. FOX and the other individual

located the vacation home, took photographs and slow-motion video from their vehicle as they

drove by it, and discussed conducting additional surveillance from the water at a later date. The

other individual then looked up the locations of the local police department and Michigan State

Police in the area, and used them to estimate how long it would take law enforcement to respond

to an incident at the vacation home. During the surveillance operation, FOX said, “We ain’t

gonna let ‘em burn our fuckin’ state down. I don’t give a fuck if there’s only 20 or 30 of us,

dude, we’ll go out there and use deadly force.”

        26.    On August 30, 2020, FOX shared photos from his surveillance trip to the

encrypted chat group, which included FRANKS, HARRIS, GARBIN and CHS-2. GARBIN

offered to paint his personal boat black to support the surveillance of the vacation home from the

lake where the vacation home is situated. In a text message conversation the same day, GARBIN

asked CHS-2 how the surveillance trip had gone. CHS-2 shared a screenshot of a map of the

area, which happened to show a bridge in the vicinity. Using symbols and emoticons, GARBIN

replied “If the 🌉🌉 go 👇👇, it also ❌ the 🌊🌊,” suggesting demolition of the bridge would hinder a
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police response. CHS-2 provided the FBI with an image of a hand-drawn map of the lake near

the vacation home with the mileage of the nearest police departments and the estimated response

time. CHS-2 provided FBI with a picture of FOX drawing that map.

                       Nighttime Surveillance on September 12-13, 2020

       27.     Over the weekend of September 12-13, 2020, FOX, CROFT, GARBIN,

FRANKS, HARRIS, CASERTA, CHS-2, a UCE, and another individual attended a FTX at

GARBIN’s property in Luther, Michigan. The location is approximately an hour and a half from

the vacation home. CHS-2 and the UCE audio recorded the meetings and exercise. CROFT

brought what he referred to as his “chemistry set,” which included components for an IED.

According to CHS-2, CROFT constructed an IED by removing the cap from a commercial

firework, adding additional black powder, and wrapping the device in pennies and electrical tape

as shrapnel. During the exercise, the group set the device in a clearing surrounded by human

silhouette targets, and CROFT detonated it to test its anti-personnel effectiveness.

       28.     At the exercise, FOX took aside CROFT, GARBIN, FRANKS, CASERTA, CHS-

2, two UCEs, and four other people. FOX briefed them on the plan to kidnap Governor

Whitmer, and he told them about his first surveillance of the property. FOX selected CROFT,

GARBIN, FRANKS, the CHS, the UCEs, and the four other people, to conduct a nighttime

surveillance of the vacation home in preparation for the kidnapping. HARRIS, CASERTA, and

another individual remained at the camp in Luther. HARRIS became aware of the surveillance

the next day, and he expressed regret that he had not participated in the surveillance operation.

       29.     On September 12, 2020, while driving from GARBIN’s property to Cadillac to

bring others to the property, FOX told CHS-2 and another individual that the vacation home is

the Governor’s actual house, “And it’s a perfect fuckin’ setup. Out of everywhere that she

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resides, this is the only one that’s probably actually feasible with a success rate.” That

conversation was recorded by CHS-2.

       30.     During the late night of September 12 and early morning of September 13, the

group drove from Luther to the vicinity of the vacation home in three separate vehicles. CHS-2

and the UCEs audio recorded the operation. Before leaving Luther, CROFT asked FOX if the

surveillance participants were armed. FOX confirmed that they were, and CROFT suggested

they take the opportunity to conduct an act of violence that night. CROFT was eventually

dissuaded of this notion and decided to wait for a better time.

       31.     FOX, CROFT, CHS-2, a UCE, and an individual from Wisconsin traveled in the

first vehicle. While in the vehicle, CROFT and FOX discussed detonating explosive devices to

divert police from the area of the vacation home. They stopped at the M-31 highway bridge on

the way, where FOX and the UCE inspected the underside of the bridge for places to seat an

explosive charge. FOX took a picture of the bridge’s support structure, which he later shared

with CHS-2 in their encrypted chat. From there, they drove to a public boat launch across the

lake from the vacation home to watch for the other cars in their group.

       32.     GARBIN, FRANKS, and another individual from Wisconsin traveled in the

second vehicle to the vicinity of the vacation home. A digital dash camera was mounted in the

vehicle and was activated to record the surveillance for later reference, which footage was later

shared with CHS-2, who provided it to the FBI. External-facing video footage from the camera

shows what the conspirators observed of the Governor’s neighborhood, while the internal-facing

footage captured GARBIN, FRANKS, and the other member inside the vehicle on the way to the

vacation home. A review of the dash camera footage revealed GPS data indicating that the

vehicle was located in close proximity to the vacation home next to the lake. When the second

                                                 12
vehicle arrived, the team contacted FOX, who was located in the first vehicle, to determine if

they could see each other’s lights across the lake. GARBIN asked the first vehicle, “Can you see

my light?” CROFT asked the second vehicle, “You got our guys?” CHS-2 replied, “We got

you.”

         33.      Two of the other individuals and a UCE drove to the lake in the third vehicle.

They were tasked by FOX to drive around and make sure no one was following or surveilling the

group.

         34.      During the surveillance operation, FOX stated, “She fucking goddamn loves the

power she has right now” and that “she has no checks and balances at all. She has uncontrolled

power right now.” CROFT stated, “All good things must come to an end.” FOX also remarked

“I can see several states takin’ their fuckin’ tyrants. Everybody takes their tyrants.” The group

also discussed how many people should be involved in the kidnapping operation.

         35.      During the ride back to GARBIN’s property, FRANKS stated “We’re doin’ all

the reconnaissance work, so it should go smooth.” After arriving back at GARBIN’s property,

CHS-2 asked, “Everybody down with what’s going on?” and someone stated, “If you’re not

down with the thought of kidnapping, don’t sit here.” GARBIN replied, “Oh no, we’re not

kidnapping, that’s not what we’re doing,” which sparked general laughter. Amidst the laughter,

another voice said, “No children!” and a voice added, “We’re adult napping.” FRANKS stated,

“Kidnapping, arson, death. I don’t care.” The group then started discussing destroying the

vacation home.

               The Conspirators Begin Finalizing Plans to Kidnap Governor Whitmer

         36.      On the morning of September 13, 2020, the group reconvened at GARBIN’s

property in Luther, Michigan. FOX gathered CROFT, GARBIN, FRANKS, HARRIS,

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CASERTA, CHS-2, the UCEs and two other individuals. CHS-2 recorded the discussion. FOX

confirmed with the members that they were the group that was going to kidnap Governor

Whitmer. An FBI UCE told FOX that it will cost approximately $4,000 to procure the explosives

that FOX and CROFT want to use, to blow up the bridge leading to the vacation home. FOX

later shared that information with the group. The group agreed to conduct a final training

exercise in late October.

       37.     On September 14, 2020, FOX posted in the group’s encrypted chat that he did not

want the exercise to be the last week in October because it would leave insufficient time to

execute the kidnapping before the national election on November 3, 2020. The group agreed to

use the time until the final training exercise to raise money for explosives and other supplies.

       38.     On September 17, 2020, on an encrypted group chat that included FOX,

GARBIN, FRANKS, HARRIS, CASERTA, CHS-2, and others, FOX asked the group what it

thought of a militia group invitation to participate in an armed protest at the State Capitol.

GARBIN replied, “I would highly advise minimizing any communication with him. Also there

needs to be zero and i mean zero public interaction if we want to continue with our plans.”

CASERTA replied, “When the time comes there will be no need to try and strike fear through

presence. The fear will be manifested through bullets.” FOX responded, “Copy that boys, loud

and clear!”

       39.     On September 30, 2020, FOX called CHS-2 on the phone and CHS-2 recorded

the conversation. During the call, FOX discussed purchasing a taser for use in the kidnapping

operation. FOX also told CHS-2 that CROFT, GARBIN, HARRIS, FRANKS, CASERTA, and

others were aware of the $4,000 cost. On October 2, 2020, FOX confirmed he purchased an

800,000 volt taser in an encrypted chat message with CHS-2.

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       40.     FBI’s review of recent encrypted group chats indicates that, in preparation for

their plan to kidnap Governor Whitmer, FOX, GARBIN, HARRIS, and FRANKS plan to meet

with a UCE on October 7, 2020, to make a payment on explosives and exchange tactical gear.

CASERTA said he could not attend because he will be at work. CROFT has returned to

Delaware and is not available for this exchange.

       41.     On several occasions, FOX has expressed his intention and desire to kidnap

Governor Whitmer before November, 3, 2020, the date of the national election.




                                               15
